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Exhibit A

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION
LYNN STARKEY, )
)
Plaintiff, )
)

v. ) No. 1:19-cv-03153-RLY-TAB

)
ROMAN CATHOLIC ARCHDIOCESE OF __)
INDIANAPOLIS, INC., and )
RONCALLI HIGH SCHOOL, INC., )
)
Defendants. )

ENTRY ON DEFENDANTS' OBJECTION TO MAGISTRATE'S ORDER ON
MOTION TO BIFURCATE DISCOVERY

Now pending before the court is Defendants’ objection to the magistrate judge's
order denying bifurcation of discovery. Defendants ask this court to modify the order
and grant Defendants’ motion to limit initial discovery to the applicability of the
ministerial exception.

The facts of this case are laid out in detail in this court's order on Defendants’
motion for judgment on the pleadings. On October 16, 2019, Starkey served Defendants
with written discovery requests. (Filing No. 27-7, First Requests for Production at
Requests; Filing No. 27-8, First Set of Interrogatories). Defendants partially responded
to Starkey's discovery requests but declined to produce any documents that were not
relevant to the ministerial exception. (Filing No. 46-1, Defendants’ Discovery Log).

Defendants filed a motion to bifurcate discovery on November 7, 2019, requesting that
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initial discovery be limited to the ministerial exception. (Filing No. 25). The magistrate
judge denied Defendants' motion on December 20, 2019, and Defendants appealed.

The case has developed substantially since then. On March 24, 2020, the
Archdiocese filed a motion for judgment on the pleadings, arguing all of Starkey's claims
are barred by Title VII and Title IX's religious exemptions and the First Amendment. On
October 21, 2020, this court granted in part and denied in part the motion for judgment on
the pleadings, granting the motion in favor of the Archdiocese on the Title [x claim but
allowing the Title VII and state law claims to proceed. The Archdiocese then filed a
Motion for Summary Judgment, or in the Alternative, Motion for Judgment on the
Pleadings on December 23, 2020. In that motion, the Archdiocese argues that Starkey's
claims are barred by, among other defenses, the ministerial exception.

The present appeal asks this court to limit discovery to the applicability of the
ministerial exception. That issue is now moot. The parties addressed the ministerial
exception in their summary judgment briefing, and if the court concludes Starkey
qualifies as a minister, the case may be over. If that ruling leaves any issues remaining,
or the court determines the ministerial exception does not apply, the parties are free to

address remaining discovery issues at that point.
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Accordingly, Defendants' Appeal and Objection to Magistrate's Order on Motion
to Bifurcate Discovery (Filing No. 42) is DENIED as MOOT.

SO ORDERED this 30th day of March 2021.

(AAbS ~~ —

‘RICHARI 15, ¥ UNG, JUDGE “/
United State-B4Strict Court
Southern District of Indiana

Distributed Electronically to Registered Counsel of Record.
